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                              Sandoz EPIC Stipulation
                                    Exhibit A
NDC                                  Drug                EPIC Start Date   EPIC End Date
00003011550        VEETIDS 250MG TABLET                 5/1/2001
00003011575        VEETIDS 250MG TABLET                 5/1/2001
00003011650        VEETIDS 500MG TABLET                 5/1/2001
00003011675        VEETIDS 500MG TABLET                 5/1/2001
00003012250        PRINCIPEN 250MG CAPSULE              5/1/2001
00003012260        PRINCIPEN 250MG CAPSULE              5/1/2001
00003013450        PRINCIPEN 500MG CAPSULE              5/1/2001
00003013460        PRINCIPEN 500MG CAPSULE              5/1/2001
00003068144        VEETIDS 125MG/5ML ORAL SUSP          5/1/2001
00003068154        VEETIDS 125MG/5ML ORAL SUSP          5/1/2001
00003068244        VEETIDS 250MG/5ML ORAL SUSP          5/1/2001
00003068254        VEETIDS 250MG/5ML ORAL SUSP          5/1/2001
00003097261        PRINCIPEN 250MG/5ML SUSP             5/1/2001
00003173840        TRIMOX 250MG/5ML SUSPENSION          5/1/2001
00003173845        TRIMOX 250MG/5ML SUSPENSION          5/1/2001
00015564520        STADOL 1MG/ML VIAL                   5/1/2001
00015564615        STADOL 2MG/ML VIAL                   5/1/2001
00015564820        STADOL 2MG/ML VIAL                   5/1/2001
00015710328        OXACILLIN 10GM VIAL                  5/1/2001
00015710398        OXACILLIN 10GM VIAL                  5/1/2001
00015722618        NAFCILLIN 2GM ADD-VANT VIAL          5/1/2001
00015733912        CEFAZOLIN 1GM VIAL                   5/1/2001
00015734697        CEFAZOLIN 10GM BULK VIAL             5/1/2001
00015740320        AMPICILLIN 500MG VIAL                5/1/2001
00015740399        AMPICILLIN 500MG VIAL                5/1/2001
00015740418        AMPICILLIN 1GM A/V VIAL              5/1/2001
00015740420        AMPICILLIN 1GM VIAL                  5/1/2001
00015740489        AMPICILLIN 1GM A/V VIAL              5/1/2001
00015740518        AMPICILLIN 2GM A/V VIAL              5/1/2001
00015740520        AMPICILLIN 2GM VIAL                  5/1/2001
00015740589        AMPICILLIN 2GM A/V VIAL              5/1/2001
00015797018        OXACILLIN 2GM ADD-VAN VIAL           5/1/2001
00015798120        OXACILLIN 1GM VIAL                   5/1/2001
00087057009        MUCOMYST 20% VIAL                    5/1/2001
00087057202        MUCOMYST-10 VIAL                     5/1/2001
00087057203        MUCOMYST-10 VIAL                     5/1/2001
00185001001        LABETALOL HCL 100MG TABLET           4/1/1991
00185001005        LABETALOL HCL 100MG TABLET           4/1/1991
00185001901        DESIPRAMINE 25MG TABLET              4/1/1991
00185001905        DESIPRAMINE 25MG TABLET              4/1/1991
00185001910        DESIPRAMINE 25MG TABLET              4/1/1991
00185002010        MIRTAZAPINE 15 MG TABLET             4/1/1991
00185002030        MIRTAZAPINE 15MG TABLET              4/1/1991
00185002201        ORPHENADRINE 100MG TAB SA            4/1/1991
00185002210        ORPHENADRINE 100MG TAB SA            4/1/1991
00185002401        DIPHENOXYLATE/ATROPINE TAB           4/1/1991
00185002405        DIPHENOXYLATE/ATROPINE TAB           4/1/1991
00185002410        DIPHENOXYLATE/ATROPINE TAB           4/1/1991
00185002901        DESIPRAMINE 10MG TABLET              4/1/1991
00185003901        NALTREXONE 50MG TABLET               4/1/1991
00185003930        NALTREXONE 50MG TABLET               4/1/1991
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                              Sandoz EPIC Stipulation
                                    Exhibit A
NDC                                 Drug                 EPIC Start Date   EPIC End Date
00185006301        CLONAZEPAM 0.5MG TABLET              4/1/1991
00185006305        CLONAZEPAM 0.5MG TABLET              4/1/1991
00185006310        CLONAZEPAM 0.5MG TABLET              4/1/1991
00185006401        CLONAZEPAM 1MG TABLET                4/1/1991
00185006405        CLONAZEPAM 1MG TABLET                4/1/1991
00185006410        CLONAZEPAM 1MG TABLET                4/1/1991
00185006501        CLONAZEPAM 2MG TABLET                4/1/1991
00185006505        CLONAZEPAM 2MG TABLET                4/1/1991
00185006510        CLONAZEPAM 2MG TABLET                4/1/1991
00185011201        SULFAMETHOXAZOLE/TMP DS TAB          4/1/1991
00185011205        SULFAMETHOXAZOLE/TMP DS TAB          4/1/1991
00185011401        ENALAPRIL MALEATE 2.5MG TAB          4/1/1991
00185011410        ENALAPRIL MALEATE 2.5MG TAB          4/1/1991
00185011560        TICLOPIDINE 250MG TABLET             4/1/1991
00185011701        LABETALOL HCL 200MG TABLET           4/1/1991
00185011705        LABETALOL HCL 200MG TABLET           4/1/1991
00185011801        LABETALOL HCL 300MG TABLET           4/1/1991
00185011805        LABETALOL HCL 300MG TABLET           4/1/1991
00185012701        ENALAPRIL MALEATE 5MG TAB            4/1/1991
00185012710        ENALAPRIL MALEATE 5MG TAB            4/1/1991
00185012750        ENALAPRIL MALEATE 5MG TAB            4/1/1991
00185012801        BUMETANIDE 0.5MG TABLET              4/1/1991
00185012901        BUMETANIDE 1MG TABLET                4/1/1991
00185012905        BUMETANIDE 1MG TABLET                4/1/1991
00185013001        BUMETANIDE 2MG TABLET                4/1/1991
00185013901        ETODOLAC 500MG TABLET                4/1/1991
00185013905        ETODOLAC 500MG TABLET                4/1/1991
00185014001        ETODOLAC 400MG TABLET                4/1/1991
00185014101        OXAPROZIN 600MG TABLET               4/1/1991
00185014105        OXAPROZIN 600MG TABLET               4/1/1991
00185014405        AMIODARONE HCL 200MG TABLET          4/1/1991
00185014460        AMIODARONE HCL 200MG TABLET          4/1/1991
00185014701        ENALAPRIL MALEATE 10MG TAB           4/1/1991
00185014710        ENALAPRIL MALEATE 10MG TAB           4/1/1991
00185015101        ENALAPRIL/HCTZ 5-12.5MG TAB          4/1/1991
00185017001        SOTALOL 120MG TABLET                 4/1/1991
00185017101        SOTALOL 80MG TABLET                  4/1/1991
00185017105        SOTALOL 80MG TABLET                  4/1/1991
00185017210        ENALAPRIL/HCTZ 10-25MG TAB           4/1/1991
00185017401        SOTALOL 240MG TABLET                 4/1/1991
00185017701        SOTALOL 160MG TABLET                 4/1/1991
00185020501        METHIMAZOLE 5MG TABLET               4/1/1991
00185020510        METHIMAZOLE 5MG TABLET               4/1/1991
00185021001        METHIMAZOLE 10MG TABLET              4/1/1991
00185021010        METHIMAZOLE 10MG TABLET              4/1/1991
00185021230        MIRTAZAPINE 30MG TABLET              4/1/1991
00185021401        ENALAPRIL MALEATE 20MG TAB           4/1/1991
00185021410        ENALAPRIL MALEATE 20MG TAB           4/1/1991
00185021450        ENALAPRIL MALEATE 20MG TAB           4/1/1991
00185041060        BUPROPION HCL ER 100 MG TAB          4/1/1991
00185041505        BUPROPION SR 150 MG TABLET           4/1/1991
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                              Sandoz EPIC Stipulation
                                    Exhibit A
NDC                                 Drug                 EPIC Start Date   EPIC End Date
00185041560        BUPROPION SR 150 MG TABLET           4/1/1991
00185061301        HYDROXYZINE PAM 25MG CAP             4/1/1991
00185061305        HYDROXYZINE PAM 25MG CAP             4/1/1991
00185061501        HYDROXYZINE PAM 50MG CAP             4/1/1991
00185061505        HYDROXYZINE PAM 50MG CAP             4/1/1991
00185064901        DIPHENHYDRAMINE 50MG CAPS            4/1/1991
00185064910        DIPHENHYDRAMINE 50MG CAPS            4/1/1991
00185070101        BISOPROLOL/HCTZ 2.5/6.25 TB          4/1/1991
00185070105        BISOPROLOL/HCTZ 2.5/6.25 TB          4/1/1991
00185070130        BISOPROLOL/HCTZ 2.5/6.25 TB          4/1/1991
00185070401        BISOPROLOL/HCTZ 5/6.25 TAB           4/1/1991
00185070405        BISOPROLOL/HCTZ 5/6.25 TAB           4/1/1991
00185070430        BISOPROLOL/HCTZ 5/6.25 TAB           4/1/1991
00185070701        BISOPROLOL/HCTZ 10/6.25 TAB          4/1/1991
00185070705        BISOPROLOL/HCTZ 10/6.25 TAB          4/1/1991
00185070730        BISOPROLOL/HCTZ 10/6.25 TAB          4/1/1991
00185071401        ORPHENADRINE COMP FORTE TAB          4/1/1991
00185071601        MEPROBAMATE 200MG TABLET             4/1/1991
00185071610        MEPROBAMATE 200MG TABLET             4/1/1991
00185071701        MEPROBAMATE 400MG TABLET             4/1/1991
00185071710        MEPROBAMATE 400MG TABLET             4/1/1991
00185072001        INDOMETHACIN 75MG CAP SA             4/1/1991
00185072005        INDOMETHACIN 75MG CAP SA             4/1/1991
00185072060        INDOMETHACIN 75MG CAP SA             4/1/1991
00185072201        DESIPRAMINE 75MG TABLET              4/1/1991
00185072401        CARISOPRODOL COMPOUND TAB            4/1/1991
00185072405        CARISOPRODOL COMPOUND TAB            4/1/1991
00185073601        DESIPRAMINE 100MG TABLET             4/1/1991
00185073605        DESIPRAMINE 100MG TABLET             4/1/1991
00185074901        CARISOPRODOL CPD/CODEINE TB          4/1/1991
00185075701        SULFADIAZINE 500MG TABLET            4/1/1991
00185075710        SULFADIAZINE 500MG TABLET            4/1/1991
00185077101        BISOPROLOL FUMARATE 5MG TAB          4/1/1991
00185077130        BISOPROLOL FUMARATE 5MG TAB          4/1/1991
00185077401        BISOPROLOL FUMARATE 10MG TB          4/1/1991
00185077430        BISOPROLOL FUMARATE 10MG TB          4/1/1991
00185079901        RIFAMPIN 300MG CAPSULE               4/1/1991
00185079905        RIFAMPIN 300MG CAPSULE               4/1/1991
00185079930        RIFAMPIN 300MG CAPSULE               4/1/1991
00185079960        RIFAMPIN 300MG CAPSULE               4/1/1991
00185080101        RIFAMPIN 150MG CAPSULE               4/1/1991
00185080130        RIFAMPIN 150MG CAPSULE               4/1/1991
00185080501        DOXYCYCLINE MONO 50MG CAP            4/1/1991
00185081001        DOXYCYCLINE MONO 100MG CAP           4/1/1991
00185081052        DOXYCYCLINE MONO 100MG CAP           4/1/1991
00185081053        DOXYCYCLINE MONO 100MG CAP           4/1/1991
00185093997        CHOLESTYRAMINE LIGHT POWDER          4/1/1991
00185093998        CHOLESTYRAMINE LIGHT PACKET          4/1/1991
00185094097        CHOLESTYRAMINE POWDER                4/1/1991
00185094098        CHOLESTYRAMINE PACKET                4/1/1991
00185104701        QUINIDINE SULFATE 300MG TAB          4/1/1991
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                              Sandoz EPIC Stipulation
                                    Exhibit A
NDC                                 Drug                 EPIC Start Date   EPIC End Date
00185121701        NITROGLYCERIN 9MG CAP SA             4/1/1991
00185121760        NITROGLYCERIN 9MG CAP SA             4/1/1991
00185123501        NITROGLYCERIN 6.5MG CAP SA           4/1/1991
00185123560        NITROGLYCERIN 6.5MG CAP SA           4/1/1991
00185210001        SUCRALFATE 1GM TABLET                4/1/1991
00185434601        QUINIDINE SULFATE 200MG TAB          4/1/1991
00185435001        ISONIAZID 300MG TABLET               4/1/1991
00185435010        ISONIAZID 300MG TABLET               4/1/1991
00185435101        ISONIAZID 100MG TABLET               4/1/1991
00185435110        ISONIAZID 100MG TABLET               4/1/1991
00185435130        ISONIAZID 100MG TABLET               4/1/1991
00185440010        TIZANIDINE HCL 4MG TABLET            4/1/1991
00185440051        TIZANIDINE HCL 4MG TABLET            4/1/1991
00185515601        PAPAVERINE 150MG CAPSULE SA          4/1/1991
00185515610        PAPAVERINE 150MG CAPSULE SA          4/1/1991
00185517401        NITROGLYCERIN 2.5MG CAP SA           4/1/1991
00185517460        NITROGLYCERIN 2.5MG CAP SA           4/1/1991
00781035207        WARFARIN SODIUM 1MG TABLET           4/1/1991
00781036307        WARFARIN SODIUM 2MG TABLET           4/1/1991
00781036407        WARFARIN SODIUM 2.5MG TAB            4/1/1991
00781036907        WARFARIN SODIUM 4MG TABLET           4/1/1991
00781037707        WARFARIN SODIUM 5MG TABLET           4/1/1991
00781038607        WARFARIN SODIUM 7.5MG TAB            4/1/1991
00781038707        WARFARIN SODIUM 10MG TABLET          4/1/1991
00781100401        THEOPHYLLINE 200MG TAB SA            4/1/1991
00781100501        THEOPHYLLINE 300MG TAB SA            4/1/1991
00781100801        TRIAMTERENE/HCTZ 75/50 TAB           4/1/1991
00781100805        TRIAMTERENE/HCTZ 75/50 TAB           4/1/1991
00781101401        VERAPAMIL 40MG TABLET                4/1/1991
00781101701        VERAPAMIL 120MG TABLET               4/1/1991
00781101705        VERAPAMIL 120MG TABLET               4/1/1991
00781101801        VERAPAMIL 240MG TABLET SA            4/1/1991
00781103001        TRIFLUOPERAZINE 1MG TABLET           4/1/1991
00781103201        TRIFLUOPERAZINE 2MG TABLET           4/1/1991
00781103210        TRIFLUOPERAZINE 2MG TABLET           4/1/1991
00781103301        FLURBIPROFEN 100MG TABLET            4/1/1991
00781103305        FLURBIPROFEN 100MG TABLET            4/1/1991
00781103401        TRIFLUOPERAZINE 5MG TABLET           4/1/1991
00781103410        TRIFLUOPERAZINE 5MG TABLET           4/1/1991
00781103601        TRIFLUOPERAZINE 10MG TABLET          4/1/1991
00781103610        TRIFLUOPERAZINE 10MG TABLET          4/1/1991
00781104601        PERPHENAZINE 2MG TABLET              4/1/1991
00781104610        PERPHENAZINE 2MG TABLET              4/1/1991
00781104701        PERPHENAZINE 4MG TABLET              4/1/1991
00781104710        PERPHENAZINE 4MG TABLET              4/1/1991
00781104801        PERPHENAZINE 8MG TABLET              4/1/1991
00781104810        PERPHENAZINE 8MG TABLET              4/1/1991
00781104901        PERPHENAZINE 16MG TABLET             4/1/1991
00781105001        CARISOPRODOL 350MG TABLET            4/1/1991
00781105005        CARISOPRODOL 350MG TABLET            4/1/1991
00781105301        BUPROPION HCL 75MG TABLET            4/1/1991
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                              Sandoz EPIC Stipulation
                                    Exhibit A
NDC                                  Drug                EPIC Start Date   EPIC End Date
00781105310        BUPROPION HCL 75MG TABLET            4/1/1991
00781105901        AZATHIOPRINE 50MG TABLET             4/1/1991
00781106101        ALPRAZOLAM 0.25MG TABLET             4/1/1991
00781106105        ALPRAZOLAM 0.25MG TABLET             4/1/1991
00781106110        ALPRAZOLAM 0.25MG TABLET             4/1/1991
00781106401        BUPROPION HCL 100MG TABLET           4/1/1991
00781106410        BUPROPION HCL 100MG TABLET           4/1/1991
00781107101        METHAZOLAMIDE 50MG TABLET            4/1/1991
00781107201        METHAZOLAMIDE 25MG TABLET            4/1/1991
00781107701        ALPRAZOLAM 0.5MG TABLET              4/1/1991
00781107705        ALPRAZOLAM 0.5MG TABLET              4/1/1991
00781107710        ALPRAZOLAM 0.5MG TABLET              4/1/1991
00781107801        ATENOLOL 25MG TABLET                 4/1/1991
00781107810        ATENOLOL 25MG TABLET                 4/1/1991
00781107901        ALPRAZOLAM 1MG TABLET                4/1/1991
00781107905        ALPRAZOLAM 1MG TABLET                4/1/1991
00781107910        ALPRAZOLAM 1MG TABLET                4/1/1991
00781108901        ALPRAZOLAM 2MG TABLET                4/1/1991
00781108905        ALPRAZOLAM 2MG TABLET                4/1/1991
00781110801        SALSALATE 500MG TABLET               4/1/1991
00781110901        SALSALATE 750MG TABLET               4/1/1991
00781110905        SALSALATE 750MG TABLET               4/1/1991
00781111010        PHENOBARBITAL 30MG TABLET            4/1/1991
00781112301        TRIAMTERENE/HCTZ 37.5/25 TB          4/1/1991
00781112305        TRIAMTERENE/HCTZ 37.5/25 TB          4/1/1991
00781113801        GLYBURIDE 1.25 MG TABLET             4/1/1991
00781114601        GLYBURIDE 2.5MG TABLET               4/1/1991
00781116301        NAPROXEN 250MG TABLET                4/1/1991
00781116305        NAPROXEN 250MG TABLET                4/1/1991
00781116310        NAPROXEN 250MG TABLET                4/1/1991
00781116401        NAPROXEN 375MG TABLET                4/1/1991
00781116405        NAPROXEN 375MG TABLET                4/1/1991
00781116410        NAPROXEN 375MG TABLET                4/1/1991
00781116501        NAPROXEN 500MG TABLET                4/1/1991
00781116505        NAPROXEN 500MG TABLET                4/1/1991
00781116510        NAPROXEN 500MG TABLET                4/1/1991
00781118701        NAPROXEN SODIUM 275MG TAB            4/1/1991
00781118710        NAPROXEN SODIUM 275MG TAB            4/1/1991
00781118801        NAPROXEN SODIUM 550MG TAB            4/1/1991
00781118810        NAPROXEN SODIUM 550MG TAB            4/1/1991
00781119101        GLYBURIDE 5 MG TABLET                4/1/1991
00781119110        GLYBURIDE 5 MG TABLET                4/1/1991
00781120305        AMIODARONE HCL 200MG TABLET          4/1/1991
00781120360        AMIODARONE HCL 200MG TABLET          4/1/1991
00781120392        AMIODARONE HCL 200MG TABLET          4/1/1991
00781120501        PENICILLIN VK 250MG TABLET           4/1/1991
00781120510        PENICILLIN VK 250MG TABLET           4/1/1991
00781121101        FERROUS GLUCONATE 325MG TAB          4/1/1991
00781121401        AMINOPHYLLINE 100MG TABLET           4/1/1991
00781122301        METOPROLOL 50MG TABLET               4/1/1991
00781122310        METOPROLOL 50MG TABLET               4/1/1991
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                              Sandoz EPIC Stipulation
                                    Exhibit A
NDC                                 Drug                 EPIC Start Date   EPIC End Date
00781122801        METOPROLOL 100MG TABLET              4/1/1991
00781122810        METOPROLOL 100MG TABLET              4/1/1991
00781122901        ENALAPRIL MALEATE 2.5MG TAB          4/1/1991
00781122910        ENALAPRIL MALEATE 2.5MG TAB          4/1/1991
00781123101        ENALAPRIL MALEATE 5MG TAB            4/1/1991
00781123110        ENALAPRIL MALEATE 5MG TAB            4/1/1991
00781123201        ENALAPRIL MALEATE 10MG TAB           4/1/1991
00781123210        ENALAPRIL MALEATE 10MG TAB           4/1/1991
00781123301        ENALAPRIL MALEATE 20MG TAB           4/1/1991
00781123310        ENALAPRIL MALEATE 20MG TAB           4/1/1991
00781126201        LONOX TABLET                         4/1/1991
00781126205        LONOX TABLET                         4/1/1991
00781126210        LONOX TABLET                         4/1/1991
00781126501        AMITRIP/PERPHEN 10-2 TABLET          4/1/1991
00781126505        AMITRIP/PERPHEN 10-2 TABLET          4/1/1991
00781126601        AMITRIP/PERPHEN 10-4 TABLET          4/1/1991
00781126701        AMITRIP/PERPHEN 25-4 TABLET          4/1/1991
00781127301        AMITRIP/PERPHEN 25-2 TABLET          4/1/1991
00781127305        AMITRIP/PERPHEN 25-2 TABLET          4/1/1991
00781128701        DICLOFENAC SOD 50MG TAB EC           4/1/1991
00781128901        DICLOFENAC SOD 75MG TAB EC           4/1/1991
00781129401        ACETAMINOPHEN 325MG TABLET           4/1/1991
00781129410        ACETAMINOPHEN 325MG TABLET           4/1/1991
00781129701        DICLOFENAC POT 50MG TABLET           4/1/1991
00781130105        METOCLOPRAMIDE 10MG TABLET           4/1/1991
00781132401        CYCLOBENZAPRINE 10MG TABLET          4/1/1991
00781132405        CYCLOBENZAPRINE 10MG TABLET          4/1/1991
00781132601        ALPRAZOLAM 0.25MG TABLET             4/1/1991
00781132605        ALPRAZOLAM 0.25MG TABLET             4/1/1991
00781132610        ALPRAZOLAM 0.25MG TABLET             4/1/1991
00781132701        ALPRAZOLAM 0.5MG TABLET              4/1/1991
00781132705        ALPRAZOLAM 0.5MG TABLET              4/1/1991
00781132710        ALPRAZOLAM 0.5MG TABLET              4/1/1991
00781132801        ALPRAZOLAM 1MG TABLET                4/1/1991
00781132805        ALPRAZOLAM 1MG TABLET                4/1/1991
00781132810        ALPRAZOLAM 1MG TABLET                4/1/1991
00781132901        ALPRAZOLAM 2MG TABLET                4/1/1991
00781132905        ALPRAZOLAM 2MG TABLET                4/1/1991
00781133401        HYDROXYZINE HCL 25MG TABLET          4/1/1991
00781133405        HYDROXYZINE HCL 25MG TABLET          4/1/1991
00781133410        HYDROXYZINE HCL 25MG TABLET          4/1/1991
00781133601        HYDROXYZINE HCL 50MG TABLET          4/1/1991
00781134501        MECLIZINE 12.5MG TABLET              4/1/1991
00781134510        MECLIZINE 12.5MG TABLET              4/1/1991
00781135201        IBUPROFEN 400MG TABLET               4/1/1991
00781135205        IBUPROFEN 400MG TABLET               4/1/1991
00781135901        CLEMASTINE FUM 2.68MG TAB            4/1/1991
00781136201        IBUPROFEN 600MG TABLET               4/1/1991
00781136205        IBUPROFEN 600MG TABLET               4/1/1991
00781136301        IBUPROFEN 800MG TABLET               4/1/1991
00781136305        IBUPROFEN 800MG TABLET               4/1/1991
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                              Sandoz EPIC Stipulation
                                    Exhibit A
NDC                                 Drug                 EPIC Start Date   EPIC End Date
00781137101        METOPROLOL 50MG TABLET               4/1/1991
00781137110        METOPROLOL 50MG TABLET               4/1/1991
00781137201        METOPROLOL 100MG TABLET              4/1/1991
00781137210        METOPROLOL 100MG TABLET              4/1/1991
00781137510        MECLIZINE 25MG TABLET                4/1/1991
00781138101        DICLOFENAC SOD 100MG TAB SA          4/1/1991
00781139101        HALOPERIDOL 0.5MG TABLET             4/1/1991
00781139110        HALOPERIDOL 0.5MG TABLET             4/1/1991
00781139201        HALOPERIDOL 1MG TABLET               4/1/1991
00781139210        HALOPERIDOL 1MG TABLET               4/1/1991
00781139301        HALOPERIDOL 2MG TABLET               4/1/1991
00781139310        HALOPERIDOL 2MG TABLET               4/1/1991
00781139601        HALOPERIDOL 5MG TABLET               4/1/1991
00781139610        HALOPERIDOL 5MG TABLET               4/1/1991
00781139701        HALOPERIDOL 10MG TABLET              4/1/1991
00781139710        HALOPERIDOL 10MG TABLET              4/1/1991
00781139801        HALOPERIDOL 20MG TABLET              4/1/1991
00781140001        NEOMYCIN 500MG TABLET                4/1/1991
00781140201        METHYLPREDNISOLONE 4MG TAB           4/1/1991
00781140301        LORAZEPAM 0.5MG TABLET               4/1/1991
00781140305        LORAZEPAM 0.5MG TABLET               4/1/1991
00781140401        LORAZEPAM 1MG TABLET                 4/1/1991
00781140405        LORAZEPAM 1MG TABLET                 4/1/1991
00781140410        LORAZEPAM 1MG TABLET                 4/1/1991
00781140501        LORAZEPAM 2MG TABLET                 4/1/1991
00781140505        LORAZEPAM 2MG TABLET                 4/1/1991
00781140701        HYDROXYCHLOROQUINE 200MG TB          4/1/1991
00781140705        HYDROXYCHLOROQUINE 200MG TB          4/1/1991
00781141701        ISOSORBIDE DN 40MG TAB SA            4/1/1991
00781143601        FLUPHENAZINE 1MG TABLET              4/1/1991
00781143605        FLUPHENAZINE 1MG TABLET              4/1/1991
00781143650        FLUPHENAZINE 1MG TABLET              4/1/1991
00781143701        FLUPHENAZINE 2.5MG TABLET            4/1/1991
00781143705        FLUPHENAZINE 2.5MG TABLET            4/1/1991
00781143750        FLUPHENAZINE 2.5MG TABLET            4/1/1991
00781143801        FLUPHENAZINE 5MG TABLET              4/1/1991
00781143805        FLUPHENAZINE 5MG TABLET              4/1/1991
00781143850        FLUPHENAZINE 5MG TABLET              4/1/1991
00781143901        FLUPHENAZINE 10MG TABLET             4/1/1991
00781143905        FLUPHENAZINE 10MG TABLET             4/1/1991
00781143950        FLUPHENAZINE 10MG TABLET             4/1/1991
00781144105        TRIAZOLAM 0.125MG TABLET             4/1/1991
00781144183        TRIAZOLAM 0.125MG TABLET             4/1/1991
00781144205        TRIAZOLAM 0.25MG TABLET              4/1/1991
00781144283        TRIAZOLAM 0.25MG TABLET              4/1/1991
00781144401        CIMETIDINE 800MG TABLET              4/1/1991
00781144431        CIMETIDINE 800MG TABLET              4/1/1991
00781144601        FUROSEMIDE 80MG TABLET               4/1/1991
00781144605        FUROSEMIDE 80MG TABLET               4/1/1991
00781144701        CIMETIDINE 200MG TABLET              4/1/1991
00781144801        CIMETIDINE 300MG TABLET              4/1/1991
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                              Sandoz EPIC Stipulation
                                    Exhibit A
NDC                                 Drug                 EPIC Start Date   EPIC End Date
00781144805        CIMETIDINE 300MG TABLET              4/1/1991
00781144901        CIMETIDINE 400MG TABLET              4/1/1991
00781144905        CIMETIDINE 400MG TABLET              4/1/1991
00781144960        CIMETIDINE 400MG TABLET              4/1/1991
00781145201        GLIPIZIDE 5MG TABLET                 4/1/1991
00781145210        GLIPIZIDE 5MG TABLET                 4/1/1991
00781145301        GLIPIZIDE 10MG TABLET                4/1/1991
00781145310        GLIPIZIDE 10MG TABLET                4/1/1991
00781145501        GLYBURIDE 1.25MG TABLET              4/1/1991
00781145601        GLYBURIDE 2.5MG TABLET               4/1/1991
00781145701        GLYBURIDE 5MG TABLET                 4/1/1991
00781145705        GLYBURIDE 5MG TABLET                 4/1/1991
00781145710        GLYBURIDE 5MG TABLET                 4/1/1991
00781148001        HYDROCHLOROTHIAZIDE 25MG TB          4/1/1991
00781148010        HYDROCHLOROTHIAZIDE 25MG TB          4/1/1991
00781148501        PREDNISONE 20MG TABLET               4/1/1991
00781148601        AMITRIPTYLINE HCL 10MG TAB           4/1/1991
00781148610        AMITRIPTYLINE HCL 10MG TAB           4/1/1991
00781148701        AMITRIPTYLINE HCL 25MG TAB           4/1/1991
00781148710        AMITRIPTYLINE HCL 25MG TAB           4/1/1991
00781148801        AMITRIPTYLINE HCL 50MG TAB           4/1/1991
00781148810        AMITRIPTYLINE HCL 50MG TAB           4/1/1991
00781148901        AMITRIPTYLINE HCL 75MG TAB           4/1/1991
00781149001        AMITRIPTYLINE HCL 100MG TAB          4/1/1991
00781149101        AMITRIPTYLINE HCL 150MG TAB          4/1/1991
00781150601        ATENOLOL 50MG TABLET                 4/1/1991
00781150610        ATENOLOL 50MG TABLET                 4/1/1991
00781150701        ATENOLOL 100MG TABLET                4/1/1991
00781150710        ATENOLOL 100MG TABLET                4/1/1991
00781151001        PHENAZOPYRIDINE 100MG TAB            4/1/1991
00781151201        PHENAZOPYRIDINE 200MG TAB            4/1/1991
00781151305        HYDROCODONE/APAP 7.5/500 TB          4/1/1991
00781151405        TICLOPIDINE 250MG TABLET             4/1/1991
00781151431        TICLOPIDINE 250MG TABLET             4/1/1991
00781151460        TICLOPIDINE 250MG TABLET             4/1/1991
00781151601        POTASSIUM CL 8MEQ TABLET SA          4/1/1991
00781152401        HYDROCODONE/APAP 10/650 TAB          4/1/1991
00781152531        POTASSIUM 25MEQ TABLET EFF           4/1/1991
00781152601        POTASSIUM CL 10MEQ TAB SA            4/1/1991
00781152610        POTASSIUM CL 10MEQ TAB SA            4/1/1991
00781153201        HYDROCODONE/APAP 7.5/750 TB          4/1/1991
00781153205        HYDROCODONE/APAP 7.5/750 TB          4/1/1991
00781154101        TERAZOSIN HCL 10MG TABLET            4/1/1991
00781154110        TERAZOSIN HCL 10MG TABLET            4/1/1991
00781154201        MECLIZINE 12.5MG TABLET              4/1/1991
00781154210        MECLIZINE 12.5MG TABLET              4/1/1991
00781154401        MECLIZINE 25MG TABLET                4/1/1991
00781154410        MECLIZINE 25MG TABLET                4/1/1991
00781154601        PRENATAL/FOLIC NEW FORM TAB          4/1/1991
00781155101        TERAZOSIN HCL 1MG TABLET             4/1/1991
00781155110        TERAZOSIN HCL 1MG TABLET             4/1/1991
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                               Sandoz EPIC Stipulation
                                     Exhibit A
NDC                                  Drug                 EPIC Start Date   EPIC End Date
00781155601        ISOSORBIDE DN 10MG TABLET             4/1/1991
00781155605        ISOSORBIDE DN 10MG TABLET             4/1/1991
00781155610        ISOSORBIDE DN 10MG TABLET             4/1/1991
00781156101        TERAZOSIN HCL 2MG TABLET              4/1/1991
00781156110        TERAZOSIN HCL 2MG TABLET              4/1/1991
00781157101        TERAZOSIN HCL 5MG TABLET              4/1/1991
00781157110        TERAZOSIN HCL 5MG TABLET              4/1/1991
00781159901        SPIRONOLACTONE 25MG TABLET            4/1/1991
00781159910        SPIRONOLACTONE 25MG TABLET            4/1/1991
00781160301        ASPIRIN 325MG TABLET EC               4/1/1991
00781160310        ASPIRIN 325MG TABLET EC               4/1/1991
00781160401        THIORIDAZINE 10MG TABLET              4/1/1991
00781160410        THIORIDAZINE 10MG TABLET              4/1/1991
00781160601        HYDROCODONE/APAP 5/500 TAB            4/1/1991
00781160605        HYDROCODONE/APAP 5/500 TAB            4/1/1991
00781161201        CALCIUM LACTATE 650MG TABS            4/1/1991
00781161401        THIORIDAZINE 15MG TABLET              4/1/1991
00781161966        AMOX TR-K CLV 200-28.5 TAB CHW        4/1/1991
00781162401        THIORIDAZINE 25MG TABLET              4/1/1991
00781162410        THIORIDAZINE 25MG TABLET              4/1/1991
00781162701        CARBIDOPA/LEVO 25/100 TAB             4/1/1991
00781162901        OXYBUTYNIN 5MG TABLET                 4/1/1991
00781163401        THIORIDAZINE 50MG TABLET              4/1/1991
00781163410        THIORIDAZINE 50MG TABLET              4/1/1991
00781163501        ISOSORBIDE DN 5MG TABLET              4/1/1991
00781163510        ISOSORBIDE DN 5MG TABLET              4/1/1991
00781163701        CHOLINE MAG TRISAL 500MG TB           4/1/1991
00781163801        CHOLINE MAG TRISAL 750MG TB           4/1/1991
00781164101        BACLOFEN 10MG TABLET                  4/1/1991
00781164366        AMOX TR-K CLV 400-57 TAB CHEW         4/1/1991
00781164401        THIORIDAZINE 100MG TABLET             4/1/1991
00781164410        THIORIDAZINE 100MG TABLET             4/1/1991
00781164601        NAPROXEN 375MG TABLET EC              4/1/1991
00781164901        ORPHENADRINE 100MG TAB SA             4/1/1991
00781164905        ORPHENADRINE 100MG TAB SA             4/1/1991
00781165301        NAPROXEN 500MG TABLET EC              4/1/1991
00781165501        PENICILLIN VK 500MG TABLET            4/1/1991
00781165510        PENICILLIN VK 500 MG TABLET           4/1/1991
00781166401        THIORIDAZINE 150MG TABLET             4/1/1991
00781167101        ALBUTEROL SULFATE 2MG TAB             4/1/1991
00781167201        ALBUTEROL SULFATE 4MG TAB             4/1/1991
00781167401        THIORIDAZINE 200MG TABLET             4/1/1991
00781169501        ISOSORBIDE DN 20MG TABLET             4/1/1991
00781169510        ISOSORBIDE DN 20MG TABLET             4/1/1991
00781171501        CHLORPROMAZINE 10MG TABLET            4/1/1991
00781171601        CHLORPROMAZINE 25MG TABLET            4/1/1991
00781171610        CHLORPROMAZINE 25MG TABLET            4/1/1991
00781171701        CHLORPROMAZINE 50MG TABLET            4/1/1991
00781171710        CHLORPROMAZINE 50MG TABLET            4/1/1991
00781171801        CHLORPROMAZINE 100MG TABLET           4/1/1991
00781171810        CHLORPROMAZINE 100MG TABLET           4/1/1991
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                              Sandoz EPIC Stipulation
                                    Exhibit A
NDC                                 Drug                 EPIC Start Date   EPIC End Date
00781171901        CHLORPROMAZINE 200MG TABLET          4/1/1991
00781171910        CHLORPROMAZINE 200MG TABLET          4/1/1991
00781172005        PROPOXY-N/APAP 100-650 TAB           4/1/1991
00781173101        PEMOLINE 18.75MG TABLET              4/1/1991
00781174101        PEMOLINE 37.5MG TABLET               4/1/1991
00781174801        METHYLPHENIDATE 5MG TABLET           4/1/1991
00781174901        METHYLPHENIDATE 10MG TABLET          4/1/1991
00781174910        METHYLPHENIDATE 10MG TABLET          4/1/1991
00781175001        METHOCARBAMOL 750MG TABLET           4/1/1991
00781175005        METHOCARBAMOL 750MG TABLET           4/1/1991
00781175101        PEMOLINE 75MG TABLET                 4/1/1991
00781175201        ACETAMINOPHEN/COD #3 TABLET          4/1/1991
00781175210        ACETAMINOPHEN/COD #3 TABLET          4/1/1991
00781175301        METHYLPHENIDATE 20MG TABLET          4/1/1991
00781175401        METHYLPHENIDATE 20MG TAB SA          4/1/1991
00781175410        METHYLPHENIDATE 20MG TAB SA          4/1/1991
00781176001        METHOCARBAMOL 500MG TABLET           4/1/1991
00781176005        METHOCARBAMOL 500MG TABLET           4/1/1991
00781176201        IMIPRAMINE HCL 10MG TABLET           4/1/1991
00781176401        IMIPRAMINE HCL 25MG TABLET           4/1/1991
00781176410        IMIPRAMINE HCL 25MG TABLET           4/1/1991
00781176601        IMIPRAMINE HCL 50MG TABLET           4/1/1991
00781176610        IMIPRAMINE HCL 50MG TABLET           4/1/1991
00781178501        DICLOFENAC SOD 25MG TAB EC           4/1/1991
00781178560        DICLOFENAC SOD 25MG TAB EC           4/1/1991
00781178701        DICLOFENAC SOD 50MG TAB EC           4/1/1991
00781178710        DICLOFENAC SOD 50MG TAB EC           4/1/1991
00781178760        DICLOFENAC SOD 50MG TAB EC           4/1/1991
00781178901        DICLOFENAC SOD 75MG TAB EC           4/1/1991
00781178910        DICLOFENAC SOD 75MG TAB EC           4/1/1991
00781178960        DICLOFENAC SOD 75MG TAB EC           4/1/1991
00781180701        TRAZODONE 50MG TABLET                4/1/1991
00781180705        TRAZODONE 50MG TABLET                4/1/1991
00781180710        TRAZODONE 50MG TABLET                4/1/1991
00781180801        TRAZODONE 100MG TABLET               4/1/1991
00781181701        BROMOCRIPTINE 2.5MG TABLET           4/1/1991
00781181731        BROMOCRIPTINE 2.5MG TABLET           4/1/1991
00781181801        FUROSEMIDE 20MG TABLET               4/1/1991
00781181810        FUROSEMIDE 20MG TABLET               4/1/1991
00781182401        BISOPROLOL/HCTZ 5/6.25 TAB           4/1/1991
00781182601        TRAZODONE 150MG TABLET               4/1/1991
00781182901        CAPTOPRIL 25MG TABLET                4/1/1991
00781182910        CAPTOPRIL 25MG TABLET                4/1/1991
00781183001        PROMETHAZINE 25MG TABLET             4/1/1991
00781183010        PROMETHAZINE 25MG TABLET             4/1/1991
00781183120        AMOX TR-K CLV 500-125 MG TAB         4/1/1991
00781183201        PROMETHAZINE 50MG TABLET             4/1/1991
00781183301        BISOPROLOL/HCTZ 10/6.25 TAB          4/1/1991
00781183401        ACETAMINOPHEN 500MG TABLET           4/1/1991
00781183801        CAPTOPRIL 50MG TABLET                4/1/1991
00781184101        BISOPROLOL/HCTZ 2.5/6.25 TB          4/1/1991
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                              Sandoz EPIC Stipulation
                                    Exhibit A
NDC                                  Drug                EPIC Start Date   EPIC End Date
00781184401        AMOXAPINE 25MG TABLET                4/1/1991
00781184501        AMOXAPINE 50MG TABLET                4/1/1991
00781184601        AMOXAPINE 100MG TABLET               4/1/1991
00781185220        AMOX TR-K CLV 875-125 MG TAB         4/1/1991
00781188301        RANITIDINE 150MG TABLET              4/1/1991
00781188305        RANITIDINE 150MG TABLET              4/1/1991
00781188310        RANITIDINE 150MG TABLET              4/1/1991
00781188360        RANITIDINE 150MG TABLET              4/1/1991
00781188410        RANITIDINE 300MG TABLET              4/1/1991
00781188425        RANITIDINE 300MG TABLET              4/1/1991
00781188431        RANITIDINE 300MG TABLET              4/1/1991
00781190510        LEVOTHYROXINE 0.1MG TABLET           4/1/1991
00781196601        FUROSEMIDE 40MG TABLET               4/1/1991
00781196610        FUROSEMIDE 40MG TABLET               4/1/1991
00781197101        DESIPRAMINE 10MG TABLET              4/1/1991
00781197201        DESIPRAMINE 25MG TABLET              4/1/1991
00781197210        DESIPRAMINE 25MG TABLET              4/1/1991
00781197301        DESIPRAMINE 50MG TABLET              4/1/1991
00781197310        DESIPRAMINE 50MG TABLET              4/1/1991
00781197401        DESIPRAMINE 75MG TABLET              4/1/1991
00781197501        DESIPRAMINE 100MG TABLET             4/1/1991
00781197650        DESIPRAMINE 150MG TABLET             4/1/1991
00781199501        ERCAF TABLET                         4/1/1991
00781200001        PAPAVERINE 150MG CAPSULE SA          4/1/1991
00781201801        RIMACTANE 300MG CAPSULE              4/1/1991
00781202005        AMOXICILLIN 250MG CAPSULE            4/1/1991
00781202701        CLOMIPRAMINE 25MG CAPSULE            4/1/1991
00781203701        CLOMIPRAMINE 50MG CAPSULE            4/1/1991
00781204701        CLOMIPRAMINE 75MG CAPSULE            4/1/1991
00781204801        AMANTADINE 100 MG CAPSULE            4/1/1991
00781204805        AMANTADINE 100 MG CAPSULE            4/1/1991
00781205101        TERAZOSIN 1MG CAPSULE                4/1/1991
00781205105        TERAZOSIN 1MG CAPSULE                4/1/1991
00781205201        TERAZOSIN 2MG CAPSULE                4/1/1991
00781205205        TERAZOSIN 2MG CAPSULE                4/1/1991
00781205301        TERAZOSIN 5MG CAPSULE                4/1/1991
00781205305        TERAZOSIN 5MG CAPSULE                4/1/1991
00781205401        TERAZOSIN 10MG CAPSULE               4/1/1991
00781205405        TERAZOSIN 10MG CAPSULE               4/1/1991
00781205601        TRIAMTERENE/HCTZ 37.5/25 CP          4/1/1991
00781205610        TRIAMTERENE/HCTZ 37.5/25 CP          4/1/1991
00781207401        TRIAMTERENE/HCTZ 37.5/25 CP          4/1/1991
00781207410        TRIAMTERENE/HCTZ 37.5/25 CP          4/1/1991
00781207701        RIFAMPIN 300MG CAPSULE               4/1/1991
00781210001        LITHIUM CARBONATE 300MG CAP          4/1/1991
00781212001        FIORTAL CAPSULE                      4/1/1991
00781213001        MEXILETINE 150MG CAPSULE             4/1/1991
00781213101        MEXILETINE 200MG CAPSULE             4/1/1991
00781213201        MEXILETINE 250MG CAPSULE             4/1/1991
00781214401        AMPICILLIN TR 250MG CAPSULE          4/1/1991
00781214501        AMPICILLIN TR 500MG CAPSULE          4/1/1991
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                              Sandoz EPIC Stipulation
                                    Exhibit A
NDC                                  Drug                EPIC Start Date   EPIC End Date
00781220101        TEMAZEPAM 15MG CAPSULE               4/1/1991
00781220105        TEMAZEPAM 15MG CAPSULE               4/1/1991
00781220201        TEMAZEPAM 30MG CAPSULE               4/1/1991
00781220205        TEMAZEPAM 30MG CAPSULE               4/1/1991
00781220301        VALPROIC ACID 250MG CAPSULE          4/1/1991
00781220901        TEMAZEPAM 7.5MG CAPSULE              4/1/1991
00781222101        FIORTAL/CODEINE #3 CAPSULE           4/1/1991
00781222601        THIOTHIXENE 1MG CAPSULE              4/1/1991
00781222701        THIOTHIXENE 2MG CAPSULE              4/1/1991
00781222710        THIOTHIXENE 2MG CAPSULE              4/1/1991
00781222801        THIOTHIXENE 5MG CAPSULE              4/1/1991
00781222810        THIOTHIXENE 5MG CAPSULE              4/1/1991
00781222901        THIOTHIXENE 10MG CAPSULE             4/1/1991
00781222910        THIOTHIXENE 10MG CAPSULE             4/1/1991
00781224801        DICLOXACILLIN 250 MG CAPSULE         4/1/1991
00781225201        HYDROXYZINE PAM 25MG CAP             4/1/1991
00781225401        HYDROXYZINE PAM 50MG CAP             4/1/1991
00781225801        DICLOXACILLIN 500 MG CAPSULE         4/1/1991
00781240801        DOCUSATE SODIUM 100MG CAP            4/1/1991
00781240810        DOCUSATE SODIUM 100MG CAP            4/1/1991
00781241101        KETOPROFEN 75MG CAPSULE              4/1/1991
00781249810        DIPHENHYDRAMINE 50MG CAPS            4/1/1991
00781250201        NITROFURANTOIN MCR 50MG CAP          4/1/1991
00781250205        NITROFURANTOIN MCR 50MG CAP          4/1/1991
00781250210        NITROFURANTOIN MCR 50MG CAP          4/1/1991
00781250301        NITROFURANTOIN MCR 100MG CP          4/1/1991
00781254001        TRIAMTERENE/HCTZ 50/25 CAP           4/1/1991
00781254010        TRIAMTERENE/HCTZ 50/25 CAP           4/1/1991
00781261305        AMOXICILLIN 500MG CAPSULE            4/1/1991
00781263001        NORTRIPTYLINE HCL 10MG CAP           4/1/1991
00781263101        NORTRIPTYLINE HCL 25MG CAP           4/1/1991
00781263105        NORTRIPTYLINE HCL 25MG CAP           4/1/1991
00781263201        NORTRIPTYLINE HCL 50MG CAP           4/1/1991
00781263301        NORTRIPTYLINE HCL 75MG CAP           4/1/1991
00781271101        LOXAPINE SUCCINATE 10MG CAP          4/1/1991
00781271201        LOXAPINE SUCCINATE 25MG CAP          4/1/1991
00781271301        LOXAPINE SUCCINATE 50MG CAP          4/1/1991
00781271501        TRIAMTERENE/HCTZ 50/25 CAP           4/1/1991
00781271510        TRIAMTERENE/HCTZ 50/25 CAP           4/1/1991
00781271513        TRIAMTERENE/HCTZ 50/25 CAP           4/1/1991
00781276101        LOPERAMIDE 2MG CAPSULE               4/1/1991
00781280601        FLURAZEPAM 15MG CAPSULE              4/1/1991
00781280701        FLURAZEPAM 30MG CAPSULE              4/1/1991
00781280901        OXAZEPAM 10MG CAPSULE                4/1/1991
00781281001        OXAZEPAM 15MG CAPSULE                4/1/1991
00781281005        OXAZEPAM 15MG CAPSULE                4/1/1991
00781281101        OXAZEPAM 30MG CAPSULE                4/1/1991
00781281901        BROMOCRIPTINE 5MG CAPSULE            4/1/1991
00781281931        BROMOCRIPTINE 5MG CAPSULE            4/1/1991
00781282201        FLUOXETINE 20MG CAPSULE              4/1/1991
00781282301        FLUOXETINE 10MG CAPSULE              4/1/1991
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                              Sandoz EPIC Stipulation
                                    Exhibit A
NDC                                  Drug                EPIC Start Date   EPIC End Date
00781282401        FLUOXETINE 40MG CAPSULE              4/1/1991
00781285505        RANITIDINE 150MG CAPSULE             4/1/1991
00781285560        RANITIDINE 150MG CAPSULE             4/1/1991
00781286505        RANITIDINE 300MG CAPSULE             4/1/1991
00781286531        RANITIDINE 300MG CAPSULE             4/1/1991
00781307075        METOPROLOL 1MG/ML AMPUL              4/1/1991
00781312495        NAFCILLIN 1 GM VIAL                  4/1/1991
00781312695        NAFCILLIN 10 GM VIAL                 4/1/1991
00781315796        CEFAZOLIN 1 GM VIAL                  4/1/1991
00781372270        CEFAZOLIN 1GM VIAL                   4/1/1991
00781372446        CEFAZOLIN 1GM PIGGYBACK VL           4/1/1991
00781377272        TOBRAMYCIN 40MG/ML VIAL              4/1/1991
00781392695        CEFUROXIME SOD 7.5GM VIAL            4/1/1991
00781500101        DOXAZOSIN MESYLATE 1MG TAB           4/1/1991
00781500201        DOXAZOSIN MESYLATE 2MG TAB           4/1/1991
00781500301        DOXAZOSIN MESYLATE 4MG TAB           4/1/1991
00781500401        DOXAZOSIN MESYLATE 8MG TAB           4/1/1991
00781500501        CARISOPRODOL 350MG TABLET            4/1/1991
00781500505        CARISOPRODOL 350MG TABLET            4/1/1991
00781501701        DICLOFENAC POT 50MG TABLET           4/1/1991
00781502001        PROCHLORPERAZINE 5 MG TAB            4/1/1991
00781502101        PROCHLORPERAZINE 10 MG TAB           4/1/1991
00781502201        METHYLPREDNISOLONE 4MG TAB           4/1/1991
00781502207        METHYLPREDNISOLONE 4MG TAB           4/1/1991
00781503001        METOCLOPRAMIDE 5MG TABLET            4/1/1991
00781503005        METOCLOPRAMIDE 5MG TABLET            4/1/1991
00781507501        AZATHIOPRINE 50MG TABLET             4/1/1991
00781518001        LEVOTHYROXINE 25 MCG TABLET          4/1/1991
00781518010        LEVOTHYROXINE 25 MCG TABLET          4/1/1991
00781518101        LEVOTHYROXINE 50 MCG TABLET          4/1/1991
00781518110        LEVOTHYROXINE 50 MCG TABLET          4/1/1991
00781518201        LEVOTHYROXINE 75 MCG TABLET          4/1/1991
00781518210        LEVOTHYROXINE 75 MCG TABLET          4/1/1991
00781518301        LEVOTHYROXINE 88 MCG TABLET          4/1/1991
00781518401        LEVOTHYROXINE 100 MCG TABLET         4/1/1991
00781518501        LEVOTHYROXINE 112 MCG TABLET         4/1/1991
00781518601        LEVOTHYROXINE 125 MCG TABLET         4/1/1991
00781518610        LEVOTHYROXINE 125 MCG TABLET         4/1/1991
00781518701        LEVOTHYROXINE 150 MCG TABLET         4/1/1991
00781518801        LEVOTHYROXINE 175 MCG TABLET         4/1/1991
00781518901        LEVOTHYROXINE 200 MCG TABLET         4/1/1991
00781519001        LEVOTHYROXINE 300 MCG TABLET         4/1/1991
00781519101        LEVOTHYROXINE 137 MCG TABLET         4/1/1991
00781601256        DICLOFENAC 0.1% EYE DROPS            4/1/1991
00781604016        POTASSIUM CHLORIDE 10% LIQ           4/1/1991
00781606716        ALBUTEROL SULF 2MG/5ML SYRP          4/1/1991
00781610016        LITHIUM CIT 8MEQ/5ML SYRUP           4/1/1991
00781610246        AMOX TR-K CLV 200-28.5/5 SUSP        4/1/1991
00781610446        AMOX TR-K CLV 400-57/5 SUSP          4/1/1991
00781610516        NYSTATIN 100000U/ML SUSP             4/1/1991
00781610561        NYSTATIN 100000U/ML SUSP             4/1/1991
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                              Sandoz EPIC Stipulation
                                    Exhibit A
NDC                                  Drug                EPIC Start Date   EPIC End Date
00781613016        PAREGORIC LIQUID                     4/1/1991
00781613104        CLEMASTINE 0.67MG/5ML SYRUP          4/1/1991
00781613116        CLEMASTINE 0.67MG/5ML SYRUP          4/1/1991
00781613595        PENICILLIN G POT 5MMU VIAL           4/1/1991
00781615395        PENICILLIN G SOD 5MMU VIAL           4/1/1991
00781615397        PENICILLIN G SOD 5MMU VIAL           4/1/1991
00781630116        METOCLOPRAMIDE 5MG/5ML SYRP          4/1/1991
00781637704        ACETAMINOPHEN 160MG/5ML SOL          4/1/1991
00781640516        LACTULOSE 10GM/15ML SOLN             4/1/1991
00781653342        MYGEL II LIQUID                      4/1/1991
00781660016        THEOPHYLLINE 80MG/15ML ELIX          4/1/1991
00781660516        CHLORAL HYDRATE 500MG/5ML            4/1/1991
00781670116        VALPROIC ACID 250MG/5ML SYR          4/1/1991
00781680061        CLINDAMYCIN PH 1% SOLUTION           4/1/1991
00781703616        TRIAMCINOLONE 0.1% CREAM             4/1/1991
00781704346        ERYTHROMYCIN/SULFISOX SUSP           4/1/1991
00781704348        ERYTHROMYCIN/SULFISOX SUSP           4/1/1991
00781704355        ERYTHROMYCIN/SULFISOX SUSP           4/1/1991
00781705449        ERYTHROMYCIN-BENZOYL GEL             4/1/1991
00781705459        ERYTHROMYCIN-BENZOYL GEL             4/1/1991
00781705803        LIDOCAINE-PRILOCAINE CREAM           4/1/1991
00781707450        BETAMETHASONE DP 0.05% CRM           4/1/1991
00781710335        FLUOCINONIDE-E 0.05% CREAM           4/1/1991
00781711075        GENTAMICIN 3MG/ML EYE DROPS          4/1/1991
00781715002        LINDANE 1% LOTION                    4/1/1991
00781715016        LINDANE 1% LOTION                    4/1/1991
00781716016        LINDANE 1% SHAMPOO                   4/1/1991
00781740970        ANTIBIOTIC EAR SOLUTION              4/1/1991
00781750287        ALBUTEROL 90MCG INHALER              4/1/1991
00781753580        ALBUTEROL 5MG/ML SOLUTION            4/1/1991
00781801030        POTASSIUM CL 20MEQ PACKET            4/1/1991
00781884001        METHYLPHENIDATE 5MG TABLET           4/1/1991
00781884010        METHYLPHENIDATE 5MG TABLET           4/1/1991
00781884101        METHYLPHENIDATE 10MG TABLET          4/1/1991
00781884110        METHYLPHENIDATE 10MG TABLET          4/1/1991
00781884201        METHYLPHENIDATE 20MG TABLET          4/1/1991
00781884210        METHYLPHENIDATE 20MG TABLET          4/1/1991
00781884301        METHYLPHENIDATE 20MG TAB SA          4/1/1991
54643105600        ARISTOSPAN 20 MG/ML VIAL             10/1/2002
59772246101        NADOLOL 20MG TABLET                  5/1/2001
59772246501        NADOLOL 160MG TABLET                 5/1/2001
59772317102        TRAZODONE 150MG TABLET               5/1/2001
59772516105        CAPTOPRIL/HCTZ 25/25 TABLET          5/1/2001
59772516205        CAPTOPRIL/HCTZ 50/15 TABLET          5/1/2001
59772558501        CHOLESTYRAMINE PACKET                5/1/2001
59772558901        CHOLESTYRAMINE LIGHT PACKET          5/1/2001
59772558902        CHOLESTYRAMINE LIGHT POWDER          5/1/2001
59772605801        DICLOXACILLIN 500MG CAPSULE          5/1/2001
59772727103        CEFADROXIL 500MG CAPSULE             5/1/2001
59772727104        CEFADROXIL 500MG CAPSULE             5/1/2001
59772780002        HYDROCORTISONE 0.2% OINT             5/1/2001
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                              Sandoz EPIC Stipulation
                                    Exhibit A
NDC                                Drug                  EPIC Start Date   EPIC End Date
59772780007        HYDROCORTISONE 0.2% OINT             5/1/2001
59772810005        HYDROCORTISONE 0.2% CREAM            5/1/2001
59772810007        HYDROCORTISONE 0.2% CREAM            5/1/2001
59772884003        METHYLPHENIDATE 5MG TABLET           5/1/2001
59772884203        METHYLPHENIDATE 20MG TABLET          5/1/2001
62269020824        BENZTROPINE MES 0.5MG TAB            5/1/2001
62269020924        BENZTROPINE MES 1MG TABLET           5/1/2001
62269020930        BENZTROPINE MES 1MG TABLET           5/1/2001
62269021024        BENZTROPINE MES 2MG TABLET           5/1/2001
62269021030        BENZTROPINE MES 2MG TABLET           5/1/2001
62269021124        AMANTADINE 100MG CAPSULE             5/1/2001
62269021129        AMANTADINE 100MG CAPSULE             5/1/2001
62269027824        TRIFLUOPERAZINE 1MG TABLET           5/1/2001
